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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
                                                   §
vs.                                                §     CRIMINAL NO. H-06-52-8
                                                   §
                                                   §
AMBROSIO RODRIGUEZ                                 §

                                               ORDER

          Ambrisio Rodriguez has written a letter asking this court to correct the judgment to shorten

the sentence he must serve. Rodriguez claims that he surrendered himself on March 24, 2006 and

would like credit for time served between March 24, 2006 and June 2, 2006. The presentence report

indicates that he was in Mexico when the arrest warrant was issued on February 22, 2006. He was

arrested on that warrant at the border on June 2, 2006 and has been in federal custody since then.

There is no record to verify that he was in federal custody before June 2, 2006. The motion is

denied.

          Rodriguez also asks that the spelling of his first name be corrected to “Ambrosio.” This is

the name listed on the indictment. There is no basis to change the name on the judgment.

                 SIGNED on April 9, 2009, at Houston, Texas.


                                                 ______________________________________
                                                            Lee H. Rosenthal
                                                       United States District Judge
